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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.

 PAUL J. MANAFORT, JR.,                       Crim. No. 17-201-1 (ABJ)

               Defendant.


SUPPLEMENTAL DECLARATION IN SUPPORT OF GOVERNMENT’S OPPOSITION
 TO DEFENDANT PAUL J. MANAFORT, JR.’S MOTION TO MODIFY CONDITIONS
                           OF RELEASE

I, Brock W. Domin, hereby state as follows:

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) working

directly with the Special Counsel’s Office.

       2.      I submit this declaration in further support of the government’s opposition to

defendant Manafort’s motion to modify his conditions of release.

       3.      This declaration is based upon my personal knowledge, my review of documents

and other evidence, my conversations with other law enforcement personnel, and my training and

experience. Because this declaration is being submitted for a limited purpose, it does not include

all the facts that I have learned during the course of my investigation. Where the contents of

documents are reported herein, they are reported in substance and in pertinent part.

       4.      Exhibit C is a copy of August 21, 2016, e-mail correspondence between Manafort

and Gates regarding “Narratives.” In this correspondence, Manafort asks Gates whether he had

“do[ne] them for the 3 main attacks[:] 1. Cash ledger[,] 2. Fara [. . ., and] 3. Russia.” This

correspondence was recovered pursuant to a court-authorized search of Gates’s e-mail account at

DMP International.
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       5.        Exhibit D contains excerpts from a September 5, 2016, e-mail from Gates to

Manafort regarding “Docs.” The e-mail included the message that Gates had been assembling

“documents . . . over the last couple of weeks,” and attached five documents. One of the five

attachments, bearing the heading “Outline of Issues,” is included in Exhibit D after the text of the

e-mail. (Unrelated pagination information inserted by the government’s document management

system has been redacted on the bottom of each page.) This e-mail and the attachment were

recovered pursuant to a court-authorized search of Manafort’s e-mail account at DMP

International.

       6.        Exhibit A to my initial declaration is an e-mail from defendant Paul Manafort to

Konstantin Kilimnik, a Russian national who worked for Manafort in Ukraine. Included in Exhibit

A was a printed copy of the Microsoft Word file attached to Manafort’s e-mail, which contains the

draft “op ed” for Oleg Voloshin. The Microsoft Word document has red tracked changes, of which

“paul manafort” is listed as the electronic author.

       7.        Exhibit E comprises a printed copy of the tracked changes that appear in Exhibit A,

a printed copy of Microsoft Word’s “List of Markup” that catalogues both the author of these

changes and the time these changes were made, and metadata generated by Microsoft Word with

respect to the draft op-ed that is part of Exhibit A to my initial declaration. The “List of Markup”

indicates that a user of Microsoft Word who had registered as “paul manafort” made a number of

insertions and deletions, including notations appearing in capital letters, in the document. These

changes were made between approximately 8:41 p.m. and 9:11 p.m. last Wednesday, November

29, 2017. Similarly, the document’s metadata indicates that the file was created at 8:30 p.m. and

last saved at 9:12 p.m.




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       8.      Exhibit Fis a redacted copy of an e-mail sent to an employee of the U.S. Embassy

in Ukraine from an e-mail account associated with Voloshin on December 5, 2017. (The name of

the employee bas been redacted from the Exhibit.) The e-mail includes two attachments that, in

light of the context, appear to be the following: a copy of the CNN article referenced in Voloshin' s

e-mail as a "sudden piece of news"; and a copy of the "draft article" that Voloshin' s e-mail

indicates that he "asked the Opposition Bloc press-service to forward to KYlV Post editors." The

government provided this e-mai l and the attachments to Manafort's counsel on December 6, 20 17.

       9.      Exhibit G is a copy of an op-ed published in Voloshin' s name on the Kiev Post

website on December 7, 2017.        See Oleg Voloshin: Paul Manafort, European integration's

unknown soldier for Ukraine, available at http://www.kyivpost.com/article/opinion/op-ed/oleg-

voloshin-paul-manafort-european-integrations-unknown-soldier-ukraine.html            (last    visited

December 8, 2017).

        10.    Exhibit H is a comparison, prepared by the government, of both the original text

and tracked changes proposed by "paul manafort" in Exhibit A with the text of the published op-

ed contained in Exhibit G. (Exhibit H thus reflects a comparison of the text that results from

applying the "Accept All Changes" command to Exhibit A with the relevant text of Exhibit G.)

       I decla re under penalty of perjury that the foregoing is true and correct.

       Executed on December 8, 20 17.


                                       Respectfully submitted,



                                      ~.z:V
                                       Special Agent, Federal Bureau of Investigation




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                EXHIBIT C
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Document ID: 0.7.4249.208258
From:          rick gates </o=mex05/ou=exchange
              administrative group
              (fydibohf23spdlt)/cn=recipients/cn=rgates@dmpint.com4bb>
To:            paul manafort </o=mex05/ou=exchange
              administrative group
              (fydibohf23spdlt)/cn=recipients/cn=pmanafort@dmpint.com202>
Cc:
Bcc:
Subject:       Re: Narratives
Date:          Sun Aug 21 2016 20:50:43 EDT
Attachments:

Working on them. Will send them tonight. What time is Alex tomorrow. Def think you need to do it.

> On Aug 21, 2016, at 19:05, Paul Manafort <pmanafort@dmpint.com> wrote:
>
> Did you do them for the 3 main attacks
> 1. Cash ledger
> 2. Fara
> 3. Russia
>
> I may do Alex tomorrow
>
> Sent from my iPhone




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                EXHIBIT D
            Case 1:17-cr-00201-ABJ Document 82-2 Filed 12/08/17 Page 7 of 33

Document ID: 0.7.3940.630887
From:          rick gates </o=mex05/ou=exchange
              administrative group
              (fydibohf23spdlt)/cn=recipients/cn=rgates@dmpint.com4bb>
To:            paul manafort </o=mex05/ou=exchange
              administrative group
              (fydibohf23spdlt)/cn=recipients/cn=pmanafort@dmpint.com202>
Cc:
Bcc:
Subject:       Docs
Date:          Mon Sep 05 2016 11:42:35 EDT
Attachments: 0.7.3801.15516-000001.docx
               0.7.3801.15516-000002.docx
               0.7.3801.15516-000003.docx
               0.7.3801.15516-000004.docx
               0.7.3801.15516-000005.pdf

P-
Here are all of the documents that I assembled over the last couple of weeks. I am still working on a few
but this will get you well on your way to getting organized. We can discuss when you have time.
0.7.3801.15516-000003.docx for Printed Item: 2 ( Attachment 3 of 5)
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              Outline of Issues

              Ledger
                 1. Never took cash payments
                 2. Where is the ledger? To this day no one has been able to produce the actual ledger
                 3. Also where has the ledger been? Why did it appear now?
                 4. Official statement by NABU – Manafort not under investigation
                 5. FT article – GoU in bed with Clinton’s – want to help them – very overt
                 6. Pinchuk has given millions of dollaors to Clinton Foundation among other things over the
                     years

              PJM work in Ukraine
                 1. Never worked in Russia or for Russians
                 2. Work was centered on pro-Ukraine efforts to enter into the EU
                 3. US Government failed the people of Ukraine (Vilnius Summit)
                 4. VFY is not pro-Russian or pro-Putin – he did not like Putin
                     a. Putin gave money to YT in the 2010 election. VFY did not have support of Putin but
                         YT did (no one focuses on this)
                     b. Worst trade deal in Ukraine’s history was by YT (allegedly done to pay off bad debt
                         by YT’s private company)
                 5. PJM work focused on party building, democracy, election integrity, and winning.
                 6. Worked with the US embassy at their request (in many cases) for the same goals.
                 7. VFY fairly and transparently elected – failure of the orange revolution
                        a. Conducted more reforms than either of his predecessors (paved way for
                            European integration)
                        b. US broke its commitment in February 2014 when VFY signed pledge not to use
                            force
                        c. US government failed people of Ukraine
                 8. Subsequent work was for new political party Opposition Bloc
                        a. Supported EU membership
                        b. Supported Ukrainian independence
                        c. Supporting culture does not mean supporting Putin
                        d. Ukrainians in the east part of the country supported language, food, but not
                            Russian political policies.
                        e. All Ukrainians wanted freedom (significance of independence in 1991)

              PJM work in other countries
                 1. Need to beat back the idea that this was nefarious work
                 2. You were doing work, in many cases, on behalf of the US government
                 3. Your efforts were in support and promotion of pro-democratic values around the world
                 4. Discuss the many boards, foundations you started/were on that went to support
                    democracy around the world
0.7.3801.15516-000003.docx for Printed Item: 2 ( Attachment 3 of 5)
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              Cayman Islands
                 1. This matter has been resolved and based on the documents in the EVAD court the file
                    was terminated.
                 2. [Working on getting documents from Caymans evidencing that this matter is closed – we
                    many need to discuss local attorney].

              Lobbying Issues
                 1. See separate narrative.
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                EXHIBIT (
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ůƐŽ͕ ĚƵƌŝŶŐ ƚŚĞƐĞ ĞĂƌůǇ ŵŽŶƚŚƐ͕ sz ŝŵƉůĞŵĞŶƚĞĚ ŽƚŚĞƌ ŝŵƉŽƌƚĂŶƚ ƉŽůŝĐǇ ĐŚĂŶŐĞƐ ƚŚĂƚ ƐŝŐŶĂůĞĚ
ŚĞ ǁĂƐ ƐĞƌŝŽƵƐ ĂďŽƵƚ ŵŽǀŝŶŐ hŬƌĂŝŶĞ ŝŶƚŽ ƚŚĞ ǁĞƐƚĞƌŶ Žƌďŝƚ͗

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hŬƌĂŝŶĞ ƚŽ ĂƉƉůǇ ĨŽƌ ŵĞŵďĞƌƐŚŝƉ͘ ZĞĨŽƌŵƐ ƚŚĂƚ ĐŚĂŶŐĞĚ Ă ^ŽǀŝĞƚ ďĂƐĞĚ ůĞŐĂů ĞĐŽŶŽŵŝĐ
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ƵŶĞƋƵŝǀŽĐĂůůǇ ƐŚŽǁĞĚ ƚŚĂƚ ƵƌŽƉĞĂŶ ŝŶƚĞŐƌĂƚŝŽŶ ǁĂƐ ƚŚĞ ŽŶĞ ĂŶĚ ƵŶŝƋƵĞ ďŝŐ ŝĚĞĂ ƚŚĂƚ ƵŶŝĨŝĞĚ
hŬƌĂŝŶŝĂŶ ĨƌŽŵ ĂůŵŽƐƚ Ăůů ƌĞŐŝŽŶƐ ŽĨ ŽƵƌ ǀĞƌǇ ĚŝǀĞƌƐŝĨŝĞĚ ĂŶĚ ĞǀĞŶ ƉŽůĂƌŝǌĞĚ ĐŽƵŶƚƌǇ͘ Ɛ Ă
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DĂŶĂĨŽƌƚ ĐŽƵůĚŶ͛ƚ ďƵƚ ƐƵŐŐĞƐƚ ŚŝƐ ĐůŝĞŶƚ ƚŽ ƐƚŝĐŬ ƚŽ ƵƌŽƉĞĂŶ ŝŶƚĞŐƌĂƚŝŽŶ ĂŐĞŶĚĂ ƚŽ ŐĞƚ ĂŶ
ĞĂƐŝĞƌ ƌŝĚĞ ƚŽ ƌĞͲĞůĞĐƚŝŽŶ ŝŶ ϮϬϭϱ͘
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                EXHIBIT F
                    Case 1:17-cr-00201-ABJ Document 82-2 Filed 12/08/17 Page 21 of 33
                                                    NO DISCERNIBLE CLASSIFICATION




-
From:
Sent:
                          --------------------
                                          Oleg Voloshyn <oavoloshyn@gmail.com>
                                          Tuesday, December 05, 2017 12:00 PM
To:
Subject:                                  Very important
Attachments:                              O11er BOJJOWIIIH.jpg; ov Op-Ed final.docx




Dear -

I feel urgent need to inform US embassy of the following with a view to that sudden piece of news:
http://www.cnn.com/2017 / 12/04/poli tics/manafort-bn il-russiun-intelli gence/index.html

In fact that statement is not ,fully accurate. It was me who drafted the text upon my own initiative. I felt obliged
to send it to Kilimnik just to verify certain facts and he forwarded it to Manafortjust to have a look as his name
is mentioned there. There was no plot or big scenario behind it. As far as I know Manafortjust read it and that's
all. I dare claim Mueller commission deliberately twisted the reality.
Below you may find the may with draft article attached that I asked the Opposition Block press-service to
forward to KYIV Post editors. It was done yesterday. Before the scandal erupted.
Please, inform the ambassador. I find it rather important to shed light on that situation.

Regards,

Oleg

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Washington (CNN)Former Trump campaign chairman Paul Manafort was qhostwriting an
op-ed while out on bail last month with a Russian who has ties to the Russ ian intelligence
service, Justice Department Special Counsel Robert Mueller's team said_ ~/. onday.

In a new filing Monday afternoon, Mueller's investigators said Manafort was working on
an editorial in English as late as last Thursday and that it related to his political work for
Ukraine, which factored into his money-laundering and foreign lobbying criminal
charges.

The filing asks for the court to revisit a bail agreement Muel ler's office-·and Manafort's
lawyers made jointly last week. The court had not yet approved a change to his $10
million unsecured bail and house arrest.

"Even if the ghostwritten op-ed were entirely accurate, fair, and balanced, it would be a
violation of this Court's November 8 Order if it had been published," prosecutors wrote.
"The editorial clearly was undertaken to influence the public'~ opinion -of defendant
Manafort, or else there would be no reason to seek its publication (much less for
Manafort and his long-time associate to ghostwrite it in another's name)."

Manafort has pleaded not guilty to the charges. The bail agreement the lawyers
appeared to have reached would have freed him from house arrest and GPS monitoring
while asking him to post more than $11 million in real estate as collateral. Prosecutors
have argued since his arrest October 30 that Manafort is a flight risk.

The judge in the case ordered in early November for Manafort, his lawyers and the
prosecutors to "refrain from making statements to the media or in public settings that pose a
substantial likelihood of material prejudice to this case ."
Prosecutors also have asked the court for the ability to submit details about Manafort's
Russian contact and the op-ed under seal, so they would remain confidential.
The judge has a status conference scheduled in the case for December 11 .

http://www.cnn.com/2017/12/ 04/politics/rnanafo rt -bail-ru ss ian-intel ligence/ind ex.ht ml
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 European Integration Unknown Soldier


By: Oleg Voloshyn,former spokesperson of the Ministry of Foreign Affairs of Ukraine


EU - Ukraine Association Agreement might have never appeared but for a person now
falsely accused of l?bbying Russian interests.

The night of March 4, 2010 turned out to be a nervous one for the staff of Ukrainian
embassy in Moscow where I used to be a press-attache.

The first visit to Russia of newly elected president Viktor Yanukovych was on the brink of
cancellation. The Kremlin wouldn't grant the already scheduled visit an official status.
Russian state media also cancelled earlier agreed interviews with members of Yanukovych
team. The explanation was rather simple although possibly unusual for contemporary
observers who had a mistaken and simplified perception of the fourth Ukrainian president:
Russian leadership was annoyed at Yanukovych's decision to pay his first visit after
inauguration to Brussels before heading to Moscow.

Even Yushchenko in 2005 did the opposite. There was one person the Russians blamed for
this "treason of special relationship with brother nation": the political consultant to Viktor
Yanukovych, American strategist Paul Manafort. Manafort persuaded Yanukovych that
going first to Brussels would demonstrate to all that as President, Yanukovych intended to
bring the changes required to allow Ukraine to apply for formal membership in the
European Union. -

Manafort brought to the Ukrainian political consultancy business a very important rule: An
effective leader needs to be consistent as a President with his promises as a candidate. In
his Presidential campaign VY made it clear that it was important for Ukraine to maintain its
historical and cultural relationship with Russia. However, Yanukovich had also promised to
implement the cha~ges that would begin the modernization of Ukraine that would be
necessary for Ukraine to become a part of the EU. The Brussels trip sent this signal loudly
and clearly to all - including Russia.

l can't but stipulate that Yanukovich was a bad president and crook who by the end of his
rule had effectively:_lost credibility even of his staunchest supporters. And finally betrayed
them and fled to Russia only to see Ukraine fall in the hands of other kleptocrats now
disguised as hooray-patriots and nationalists. But with all that said one shouldn't ignore
the fact that Ukraine under Yanukovych made a number of major steps towards the EU and
the West in general. And that Manafort was among those who made those paradoxical
accomplishments real.
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                EXHIBIT G
12/8/2017                      Oleg Voloshin: Paul Manafort,
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Oleg Voloshin: Paul Manafort,
European integration’s unknown
soldier for Ukraine
By Oleg Voloshin.         Published Dec. 7. Updated Dec. 7 at 8:16 pm




 WASHING           ON, DC - NOVEMBER 06: Former rump campaign
manager Paul Manafort and his wife Kathleen arrive at the Prettyman
Federal Courthouse for a bail hearing November 6, 2017 in
Washington, DC. Manafort and his former business partner Richard
Gates both pleaded not guilty Monday to a 12-charge indictment that
included money laundering and conspiracy. Mark Wilson/Getty
Images/AFP

Photo by AFP




Editor’s Note: The following op-ed submitted to Kyiv Post
deputy chief editor Olga Rudenko on Dec. 4 has triggered
controversy after U.S. Special Counsel Robert Mueller,
who is investigating U.S. President Donald J. Trump’s
ties to Russia, accused former Trump campaign manager
Paul Manafort of ghosriting the piece to help

https://www.kyivpost.com/article/opinion/op-ed/oleg-voloshin-paul-manafort-european-integrations-unknown-soldier-ukraine.html   1/5
12/8/2017                      Oleg Voloshin: Paul Manafort,
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influence the criminal case against him. If Manafort did
so, it would be a violation of a court order prohibiting
Manafort from trying the case in the press, according to
prosecutors. Bloomberg’s Stephanie Baker reported on
Dec. 5 that Mueller is now seeking to deny Manafort’s bid
for freedom from house arrest before his trial because of
the editorial. Manafort is charged with conspiracy to
launder money and acting as an unregistered agent for
Ukraine. Voloshin told the Kyiv Post that he wrote the op-
ed himself, sending it only to Konstantin Kilimnik, a
longtime associate of Manafort in Ukraine, and Manafort
for fact-checking. “It is totally mine,” Voloshin said.
“Paul has absolutely nothing to do with it.
Eighteen months ago I gave comments along same lines
to the Guardian. I was just annoyed at a McClatchy
publication that falsely claimed Manafort had derailed
Association Agreement with the European Union. The fact
it was meant for the Kyiv Post only proves there was no
intervention on behalf of Paul. It is rather difficult to
influence U.S. public opinion with publication in Ukraine.
As a native speaker, you can easily identify that the text
was penned by a non-native speaker. So it has nothing to
do with editing or writing by Paul or any other
American.” The op-ed was submitted to the Kyiv Post by
Irina Milinevskaya, an ex-Inter TV executive, now
working for the 43-member Opposition Bloc, which
includes many members of the now-defunct Party of
Regions led by the exiled Yanukovych.

The European Union – Ukraine Association Agreement
might have never appeared but for a person now falsely
accused of lobbying Russian interests.

The night of March 4, 2010, turned out to be a nervous
one for the staff of Ukrainian Embassy in Moscow where
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The first visit to Russia of newly elected President Viktor
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https://www.kyivpost.com/article/opinion/op-ed/oleg-voloshin-paul-manafort-european-integrations-unknown-soldier-ukraine.html   2/5
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unusual for contemporary observers who had a mistaken
and simplified perception of the fourth Ukrainian
president: The Russian leadership was annoyed at
Yanukovych’s decision to pay his first visit after
inauguration to Brussels before heading to Moscow.

Even Viktor Yushchenko, upon taking office as Ukraine’s
third president in 2005, did the opposite. There was one
person the Russians blamed for this “treason of special
relationship with brother nation”: the political consultant
to Yanukovych, American strategist Paul Manafort.
Manafort persuaded Yanukovych that going first to
Brussels would demonstrate to all that, as president,
Yanukovych intended to bring the changes required to
allow Ukraine to apply for formal membership in the EU.

Manafort brought to the Ukrainian political consultancy
business a very important rule: An effective leader needs
to be consistent as a president with his promises as a
candidate. In his presidential campaign, Yanukovych
made it clear that it was important for Ukraine to
maintain its historical and cultural relationship with
Russia. However, Yanukovych had also promised to
implement the changes that would begin the
modernization of Ukraine that would be necessary for
Ukraine to become a part of the EU. The Brussels trip
sent this signal loudly and clearly to all – including
Russia.

I can’t but stipulate that Yanukovych was a bad president
and crook who by the end of his rule had effectively lost
credibility even of his staunchest supporters. And he
finally betrayed them and fled to Russia only to see
Ukraine fall into the hands of other kleptocrats now
disguised as hooray-patriots and nationalists. But with all
that said one shouldn’t ignore the fact that Ukraine under
Yanukovych made a number of major steps towards the
EU and the West in general. And that Manafort was
among those who made those paradoxical
accomplishments real.


https://www.kyivpost.com/article/opinion/op-ed/oleg-voloshin-paul-manafort-european-integrations-unknown-soldier-ukraine.html   3/5
12/8/2017                      Oleg Voloshin: Paul Manafort,
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                                                      Document        integration's unknown
                                                                                Filed       soldier for Ukraine
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It was that period when Ukraine finally met U.S.
requirements to get rid of the stocks of highly enriched
uranium that could have potentially been used to produce
nuclear weapons. Ukraine used to be the only non-NATO
nation that took part in all peace-keeping and anti-
terrorist operations of the Alliance world-wide.

With an eye towards 2015, the Yanukovych government –
to the surprise of so many in Moscow – managed to
negotiate with the EU a huge list of terms for the Deep
and Comprehensive Free Trade Agreement, known as the
DCFTA. No other nation had accomplished this task over
such a brief period of time. Yanukovych’s government
had the Association Agreement initialed by March 2012.
This pace shocked Moscow.

This sense of commitment to the goal is actually the
reason why Russia overreacted in the summer 2013 and
imposed the trade blockade with Ukraine.

Following the European track created multiple challenges
that would never have been solved by a Ukraine
government except for the consistent promotion of what
had to be done by Manafort.

Legislation such as the Criminal Administrative Code,
built on fundamentally new principles consistent with the
Western practices and lauded by the Western institutions
is one of the vivid examples.

Even at the end of the process, Manafort was engaged in
helping the Europeans and the Ukrainians negotiate the
final terms.

Just three months before the summit it was the EU, not
Yanukovych, who hesitated whether to sign the document
or not. And Manafort contributed a lot to change of mood
in Brussels and major European capitals while at the
same time keeping Ukraine focused on finalizing the
details of the DCFTA and Association Agreement. He was
doing this while Russia was imposing the trade embargo
and threatening even more drastic punishment to
https://www.kyivpost.com/article/opinion/op-ed/oleg-voloshin-paul-manafort-european-integrations-unknown-soldier-ukraine.html   4/5
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                                                      Document        integration's unknown
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discourage Yanukovych from getting into DCFTA with
the EU.

With all that said I can only wonder why some American
media dare falsely claim that Paul Manafort lobbied
Russian interests in Ukraine and torpedoed the
Association Agreement signing. Without his input,
Ukraine would not have had the command focus on
reforms that were required to be a nation-candidate to the
EU.

All listed here facts can be easily verified. If only one
pursues the truth, not ends to twist the reality in line with
his or her conviction that the dubious goal of
undermining Trump’s presidency, justifies most dishonest
means.

Oleg Voloshin was a spokesperson of the Ministry of
Foreign Affairs of Ukraine under ex-Foreign Minister
Konstantin Grishchenko, who served from 2010-2012,
during the president of Viktor Yanukovych, ousted by the
EuroMaidan Revolution in 2014.


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                EXHIBIT H
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Oleg Voloshin: Paul Manafort, European integrationintegration’s unknown soldier 

Oleg Voloshyn, former spokesperson of the Ministry of Foreign Affairs of for Ukraine 

EUBy Oleg Voloshin. 



The European Union – Ukraine Association Agreement might have never appeared but for a person now 
falsely accused of lobbying Russian interests. 



The night of March 4, 2010, turned out to be a nervous one for the staff of Ukrainian embassyEmbassy 
in Moscow where I used to be a press  attaché.  



The first visit to Russia of newly elected presidentPresident Viktor Yanukovych was on the brink of 
cancellation. The Kremlin wouldn’t grant the already scheduled visit an official status. Russian state 
media also cancelledcanceled earlier agreed interviews with members of the Yanukovych team. The 
explanation was rather simple although possibly unusual for contemporary observers who had a 
mistaken and simplified perception of the fourth Ukrainian president: The Russian leadership was 
annoyed at Yanukovych’s decision to pay his first visit after inauguration to Brussels before heading to 
Moscow.  



Even Viktor Yushchenko, upon taking office as Ukraine’s third president in 2005, did the opposite. There 
was one person the Russians blamed for this “treason of special relationship with brother nation”: the 
political consultant to Viktor YanukoychYanukovych, American strategist Paul Manafort. Manafort 
persuaded YanukovichYanukovych that going first to Brussels would demonstrate to all that, as 
President, Yanuovichpresident, Yanukovych intended to bring the changes required to allow Ukraine to 
apply for formal membership in the European Union. EU. 



Manafort brought to the Ukrainian political consultancy business a very important rule: An effective 
leader needs to be consistent as a Presidentpresident with his promises as a candidate. In his 
Presidentialpresidential campaign VY, Yanukovych made it clear that it was important for Ukraine to 
maintain its historical and cultural relationship with Russia. However, YanukovichYanukovych had  also 
promised to implement the changes that would begin the modernization of Ukraine that would be 
necessary for Ukraine to become a part of the EU. The Brussels trip sent this signal loudly and clearly to 
all – including Russia.  
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Also, during these early months, VY implemented other important policy changes that signaled he was 
serious about moving Ukraine into the western orbit: 

 

HERE NEED TO ADD a couple of major reforms that VY brought to country in order to position Ukraine to 
apply for membership. Reforms that changed a Soviet based legal economic framework to a western 
one. (increase of NATO exercises/ Nuclear deal/  

 

I can’t but stipulate that Yanukovych was a bad president and crook who by the end of his rule had 
effectively lost credibility even of his staunchest supporters. And he finally betrayed them and fled to 
Russia only to see Ukraine fall into the hands of other kleptocrats now disguised as hooray‐patriots and 
nationalists. But with all that said one shouldn’t ignore the fact that Ukraine under Yanukovych made a 
number of major steps towards the EU and the West in general. And that Manafort was among those 
who made those paradoxical accomplishments real. 

 

It was that period when Ukraine finally met U.S. requirements to get rid of the stocks of highly enriched 
uranium that could have potentially been used to produce nuclear weapons. Ukraine used to be the only 
non‐NATO nation that took part in all peace‐keeping and anti‐terrorist operations of the Alliance world‐
wide. 

 

With an eye towards 2015, VYthe Yanukovych government – to the surprise of so many in Moscow – 
managed to protect the cultural and language concerns of Eastern Ukraine while managing the major 
changes required for Ukraine to come tonegotiate with the EU a huge list of terms with the European 
bureaucrats debating the particular terms offor the Deep and Comprehensive Free Trade Area 
(Agreement, known as the DCFTA) with the EU. No other nation had accomplished this task over such a 
brief period of time. Yanukovych’s government had the Association Agreement initialed by March of
2012. This pace shocked Moscow.  

 

This sense of commitment to the goal is actually the reason why Russia overreacted in the summer 2013 
and imposed the trade blockade with Ukraine. 

 

Following the European track created multiple challenges that would never hadhave been solved by a 
Ukraine Governmentgovernment except for the consistent promotion of what had to be done by Paul 
Manafort. 

 

HERE LIST SOME OF THE CHANGES TO LAWS THAT WERE MADE – CIVIL CODE/ELECTORAL CODE ETC. 

 
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Legislation such as the Criminal Administrative Code, built on fundamentally new principles consistent 
with the Western practices and lauded by the Western institutions is one of the vivid examples. 



Even at the end of the process, Manafort was engaged in helping the Europeans and the Ukrainians 
negotiate the final terms.  



Just three months before the summit it was the EU, not Yanukovych, who hesitated whether to sign the 
document or not. And Manafort contributed a lot to change theof mood in Brussels and major European 
capitals while at the same time keeping Ukraine focused on finalizing the details of the DCFTA and 
Association Agreement. He was doing this while Russia was imposing the trade embargo and 
threatening even more drastic punishment.  to discourage Yanukovych from getting into DCFTA with the 
EU. 



With all that said I can only wonder why some American media dare falsely claim that Paul Manafort 
lobbied Russian interests in Ukraine and torpedoed AAthe Association Agreement signing. Without his 
input, Ukraine would not have had the command focus on reforms that were required to be a nation ‐
candidate to the EU.  



All listed here facts can be easily verified. If only one pursues the truth. Not tends, not ends to twist the 
reality in line with his or her conviction that the dubious goal of undermining Trump’s presidency, 
justifies most dishonest means. 
